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 12
      [Additional Counsel for Plaintiff on Signature Page]
 13 Attorneys for Plaintiff FLO & EDDIE, INC. and the Class

 14

 15                         UNITED STATES DISTRICT COURT
 16                       CENTRAL DISTRICT OF CALIFORNIA
 17                                    WESTERN DIVISION
 18 FLO & EDDIE, INC., a California                 Case No. CV13-05693 PSG (GJSx)
      corporation, individually and on behalf
 19 of all others similarly situated,               SUPPLEMENTAL DECLARATION
                                                    OF STEVEN G. SKLAVER IN
 20                       Plaintiff,                SUPPORT OF MOTION BY
 21             v.                                  PLAINTIFF FOR AN AWARD OF
                                                    ATTORNEYS’ FEES AND COSTS
 22 SIRIUS XM RADIO, INC., a Delaware
                                                    Date: May 8, 2017
 23 corporation; and DOES 1 through 10,             Time: 1:30 p.m.
 24                       Defendants.               Place: Courtroom 6A

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  1          I, Steven G. Sklaver, hereby declare as follows:
  2          1.     I am a partner at Susman Godfrey L.L.P. (“Susman Godfrey”), counsel
  3 of record for the Plaintiff Flo & Eddie, Inc. and the certified class (collectively,

  4 “Plaintiffs”) in the above-entitled action. I have personal knowledge of the facts set

  5 forth in this declaration and, if called to testify thereto, could and would do so

  6 competently.

  7          2.     I respectfully submit this supplemental declaration in support of
  8 Plaintiff’s motion for an award of attorneys’ fees and costs. Susman Godfrey has
  9 significant experience with litigation and class actions, including settlements

 10 thereof. A copy of the firm’s class action profile and my profile are available at

 11 www.susmangodfrey.com.            The lawyers working on this case for the Class are
 12 experienced lawyers who have substantial experience prosecuting large-scale class

 13 actions and complex litigation.

 14          3.     On March 28, 2016, Flo & Eddie sought the appointment of Susman
 15 Godfrey as co-lead class counsel to assist with the completion of discovery, pretrial

 16 preparation, and trial. See Dkt. 278. By its Order dated May 16, 2016, Dkt. 308, the

 17 Court appointed Susman Godfrey as co-lead class counsel in this case pursuant to

 18 Federal Rule of Civil Procedure 23(g). Since that time, Susman Godfrey has acted

 19 as co-lead class counsel. I, along with other Susman Godfrey attorneys and co-lead

 20 class counsel Gradstein & Marzano, P.C. (G&M), have personally supervised and

 21 directed every aspect of the prosecution and resolution of this litigation on behalf of

 22 Plaintiff and the Class.

 23          4.    According to the records of my firm and the Declaration of Henry
 24 Gradstein (“Gradstein Declaration”), filed concurrently herewith, Class Counsel

 25 performed 15286.50 total hours of work in the prosecution and settlement of this

 26 litigation – including 659.2 hours in ongoing work since the opening motion for fees

 27 in this case.        This resulted in a total attorneys’ fee lodestar of $8,727,094.80 –
 28 including $370,217.00 in ongoing work since the opening motion for fees in this
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  1 case.     Of those hours, Susman Godfrey attorneys and support staff performed
  2 4,481.2 hours of work, resulting in a total Susman Godfrey attorneys’ fee lodestar of

  3 $2,203,008.50 – $2,082,591.50 of which was accumulated prior to filing the

  4 opening motion for fees in this case as laid out in the original declaration I

  5 submitted. Dkt. 672 (“Declaration Of Steven G. Sklaver In Support Of Motion By

  6 Plaintiff For An Award Of Attorneys’ Fees And Costs).           The remainder of the
  7 $120,417.00 Susman Godfrey lodestar is described below.

  8          5.    Attached as Exhibit 1 is a true and correct copy of a supplemental
  9 summary schedule indicating the amount of time from November 30, 2016 through

 10 April 20, 2017, spent by the partners, attorneys and other professional support staff

 11 of my firm who were involved in this litigation, and the lodestar calculation based

 12 on my firm’s billing rates in effect in 2016.      The schedule was prepared from
 13 contemporaneous time records regularly prepared and maintained by my firm. The

 14 hourly rates for the partners, attorneys and professional support staff in my firm

 15 included in this schedule are the same as the usual customary hourly rates charged

 16 for their services in cases where my firm is engaged to be paid by the hour.

 17          6.    The total number of hours expended by my firm in this litigation from
 18 inception through April 20, 2017—which does not include any time spent on

 19 Plaintiffs’ motion for an award of attorneys’ fees and expenses—is 4,481.2 hours.

 20 Of this, 4,279 hours were expended prior to the opening motion on fees and are

 21 outlined in my prior declaration.       Dkt 672.   An additional 202.2 hours were
 22 expended between November 30, 2016 and April 20, 2017 resulting in a supplement

 23 lodestar for my firm of $120,417.00.            The total lodestar for my firm is
 24 $2,203,008.50. Should the Court request further supporting documentation for these

 25 amounts, the firm is prepared to provide it.

 26          7.    Class   Counsel   also   seeks   reimbursement     of   approximately
 27 $1,679,587.55 in unreimbursed costs and expenses reasonably paid or incurred by

 28 Class Counsel in the prosecution and settlement of the litigation, as of April 20,
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  1 2016. This includes additional expenditures of $146,037.56 since the motion for

  2 fees was filed.      Of this amount, Susman Godfrey advanced $1,450,965.47 total,
  3 including $142,569.67 from November 30, 2016 through April 20, 2017 in

  4 unreimbursed costs and expenses.       The details and categories of those Susman
  5 Godfrey expenses are summarized in Dkt. 672 and below.

  6          8.    The expenses incurred in this action are reflected on the books and
  7 records of my firm. These books and records are prepared from expense vouchers,

  8 check records and other materials that represent an accurate recordation of the
  9 expenses incurred. Should the Court request further supporting documentation for

 10 these amounts, my firm is prepared to provide it.

 11          9.    The expenses noted are reasonable and were incurred for items
 12 necessary to the prosecution of the litigation.     The expenses were incurred in
 13 conjunction with the services of appellate and damages experts, travel and research

 14 costs.

 15

 16 Signed this 24th day of April, 2017, at Los Angeles, California.

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 18
                                            /s/ Steven G. Sklaver
                                               Steven G. Sklaver
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  1
                                            EXHIBIT 1

  2                         SUSMAN GODFREY L.L.P.’s FEES
  3
                           Flo & Eddie, Inc. v. Sirius XM Radio, Inc.
                              Firm Name: Susman Godfrey L.L.P.
  4                           November 30, 2016-April 20, 2017
  5

  6                         Hourly rate          Cumulative             Cumulative Hours
  7                                              Lodestar
  8    Steven Morrissey          $700.00              $20,510                 29.3
  9         (Partner)
 10      Steven Sklaver          $700.00              $29,610                 42.3
 11         (Partner)
 12       Rachel Black           $550.00              $37,015                 67.3
 13         (Partner)
 14   Kalpana Srinivasan         $550.00              $31,185                 56.7
 15         (Partner)
 16     Michael Gervais          $375.00               $1,125                 3.0
 17        (Associate)
 18    Simon DeGeorges           $270.00              $837.00                 3.1
 19        (Paralegal)
 20         Joel Tan             $270.00              $135.00                  .5
 21

 22         TOTAL                                   $120,417.00              202.2
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  1                                             EXHIBIT 2
  2                          SUSMAN GODFREY L.L.P.’s EXPENSES
  3

  4
      Flo & Eddie, Inc. v. Sirius XM Radio, Inc., Susman Godfrey Combined Expenses
                   All Cases (from December 30, 2016 through April 20, 2017)
  5

  6
                                 California         $112,724.99
  7

  8
                                   Florida           $25,000.00

  9
                                 New York            $4,844.68

 10                                 Total           $142,569.67

 11

 12      Flo & Eddie, Inc. v. Sirius XM Radio, Inc., U.S.D.C for the Central District of

 13                              California, Case No. 2:13-CV-05693

 14
      Cost Code                               Category                         Total
 15   ABR                Reports                                                $871.00
 16   PRINT              Reproduction charges                                     $93.00
      EXPERT             Expert fees                                          $95,600.00
 17   GROUND             Transportation charges                                   $65.00
 18
      HCMSGR             Messenger/Delivery Services                            $304.03
      HCTELE             Telephone & Calling Card Expenses                      $106.87
 19   MEALS              Meals (Travel)                                         $784.63
      MISC               Miscellaneous Client Charges                           $103.88
 20
      POST               Post charges                                              $0.46
 21   PRINT              Printing charges                                         $83.50
      RESRCH             Research charges                                     $10,954.65
 22   SECOT              Secretarial Overtime                                  $1,825.00
 23   TRAVEL             Hotel & Travel Expenses                               $1,932.97
      TOTAL                                                                  $112,724.99
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  1      Flo & Eddie Inc. v. Sirius XM Radio Inc., U.S.D.C for the Southern District of
  2                             Florida, Case No. 13-CV-23182
  3

  4
      Cost Code                  Category                                     Total
      APPEAL Appellate Expert Fees                                           $25,000.00
  5

  6
         Flo & Eddie Inc. v. Sirius XM Radio Inc., U.S.D.C for the Southern District of
  7
                               New York, Case No. 13-CV-5784
  8
  9   Cost Code                  Category                                     Total
      APPEAL Appellate Expert Fees                                            $4,660.78
 10
      RESRCH Research fees                                                     $183.90
 11   TOTAL                                                                   $4,844.68
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